Se 2:09-cv-13493-GER-MKM ECF No. 84 filed 03/17/11 PagelD.1064 Page 1 of 2 D

 

Original - Court 2nd copy - Defendant
Approved, SCAO 1st copy ~ Officer 3rd copy - Plaintiff
STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT REQUEST AND ORDER TO 09-cv-13493
JUDICIAL CIRCUIT SEIZE PROPERTY
Court address

 

 

 

meager a Court telephone no.
USDC Eastern District of Michigan, 231 W. Lafayette Blvd., Detroit, Michigan 48228 ;.. «5: wil 313) SBE ETT ao

hg, - si i
Plaintiff name(s) and address(es) Defendant name(s) dnd address(es)... .

 

 

 

 

Perfecting Church, Marvin Winans, and Cynthia Royster, Carberry,.Goldman & Associates, Inc... «......
Flowers Vv F ie 9

c/o Clark Hill PLC, 500 Woodward Ave., Suite 3500 See attaChed Exhibit Aj fpr addfess|L_
Detroit, Michigan 48226-3435 i oe i

   
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    
 

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pa MAR 17 20H [JI
“= aH ct ben
REQUEST AND VERIFICATION; | 4] SO RK'S OFFICE
oe oy U.S. DISTRICT COURT
1..On ; 9/08/2010 a judgment was granted in this case We the f WGHIGAN
— ; 4. Homo, pe etre BR
Amount of judgment $497,704.99 Interest to this date $ 58,959.38 = judgment coste..$. Te f
Total $516,664.37 Less credits received $0.00 -—. “Balance due;to date $ > 10,064.37 ""~
“Additional statutory interest, officer/sheriff fees, and expenses may be charged in addition to the unpaid Palance according fo law. ~~

- 2. The plaintiff requests the court issue an order to seize the property of the following defendant(s):
Royster, Carberry, Goldman & Associates, Inc. N/A

 

 

 

 

 

 

Name Date of birth (if available)
Name Date of birth (if available)
a .
03/14/2011 a P71326
Chehab ‘
Date Plaintiff/Attorney si§nature a Bar no.
500 Woodward Ave., Suite 3500 Detroit Mi 48226 (313) 965-830(
Address City State Zip Telephone no.
ORDER

TO ANY SHERIFF, DEPUTY SHERIFF, OR COURT OFFICER - YOU ARE ORDERED TO:

1. Seize and sell, according to law, any of the personal property (as determined by the officer) of defendant(s) named above in the
Request and Verification that is not exempt from seizure, as will be sufficient to satisfy the plaintiffs demand, costs, and any
Statutory fees and expenses. Personal property may include, but is not limited to motor vehicles or money, wherever located.

2. If sufficient personal property of defendant(s) cannot be found within your jurisdiction, seize and sell any of the real property of
defendant(s) notexemptfrom seizure, as will be sufficientto satisfy plaintiffs demand, costs, and any statutory fees and expenses.

_ 3. Collect from the sale of the property enough money to pay alll of your statutory fees and statutory expenses.

4. Deposit proceeds of sale with the | Cicourt CIplaintiff after deducting statutory fees and statutory expenses.

(15. Claim and Delivery Only: Seize the property described in the attached judgment for claim and delivery and deliver to the
plaintiff(s); or if the property is not found in the possession of the defendant(s), levy the value of it.

6. You must endorse the month, day, year, and hour that you receive this order, and thattime is the effective date of this order.
You must return this order not less than 20 days, nor more than 90 days, from the’efféctive date. bu have begun to serve
this order on or before the return date, you may complete the serviee and return fftet the return’dat

l
Date  ) Vv Bar no.
Order to be served by:
Court officer/Deputy sheriff "7 ,

ENDORSEMENT: | certify that | received this order on

   

      

 

 

at
Date Time

 

Court officer/Deputy sheriff

TO THE DEFENDANT: The person seizing property is required to provide you with a receipt of all money paid by you and an _

inventory of the property seized,
MC 19 (3/09) REQUEST AND ORDER TO SEIZE PROPERTY

 

MCL 600.2920, MCL 600.6002, MCR 3.106

 
 

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EXHIBIT A

Royster, Carberry, Goldman & Associates, Inc., c/o Martin Royster:

PYNS

1380 Oxford Rd, Berkley, MI 48072.

1667 Campau Farms Cir 29, Detroit, MI 48207-5169
19710 Chesterfield Rd, Detroit, MI 48221-1880
19687 Raleigh Cir, Southfield, MI 48076-2422

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